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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

DAVID A. ALLEivL'\NDI,
a/k/ a June Woods, a/k/ a Abdullah
Abdullah Al-Faruq Abdullah,

              Plaintiff,

       v.                                           Civ. No. 16-890-LPS

MONICA MILLS, M.D. and
DEDRA PARKER, M.D.,

               Defendants.



David A. Allemandi, James T. Vaughn Correctional Center, Smyrna, Delaware, Pro Se Plaintiff.




                                MEMORANDUM OPINION




August 7, 2017
Wilmington, Delaware
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I.       INTRODUCTION

         Plaintiff David A. Allemandi ("Plaintiff''), filed this action pursuant to 42 U .S.C. § 1983

alleging violations of his constitutional rights. 1 (D.I. 2) Plaintiff, who appears pro se, is incarcerated

at the James T. Vaughn Correctional Center (''VCC) in Smyrna, Delaware and has been granted

leave to proceed in Jonna paupen's. (D.I. 6, 9) The Court proceeds to review and screen the

Complaint pursuant to 28 U.S.C. § 191S(e)(2) and§ 191SA(a).

II.      BACKGROUND

         Plaintiff seeks testing, treatment, and a special diet for his medical conditions. On June 27,

2016, Plaintiff was promised that he would be seen by a physician. At some point, he was seen by a

nurse, who referred Plaintiff to a physician. Later, on August 17, 2016, he was seen by Defendant,

Dr. Dedra Parker ("Dr. Parker"). Dr. Parker ordered blood tests. It appears that Plaintiff believes

additional tests should have been ordered. Plaintiff spoke to a nurse the next week and complained

of gastrointestinal issues.

         Plaintiff submitted a medical grievance and regular grievance regarding a medical diet. On

September 19, 2016, the medical grievance's resolution was to refer Plaintiff to a dietitian. Plaintiff

submitted a sick call slip on September 21, 2016 and was seen by a nurse on September 22, 2016.

The nurse informed Plaintiff that he had emailed the dietitian several times regarding the special

diet. The nurse also told Plaintiff that the average wait time to see a physician was well over a

month. Plaintiff alleges that he is being "forced to suffer untreated while they take their time

deciding when they want to treat" him. (D.I. 2 at 8) He seeks compensatory damages and


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         Pursuant to 42 U.S.C. § 1983, a plaintiff must allege that some person has deprived him of a
federal right, and that the person who caused the deprivation acted under color of state law. See
West v. Atkins, 487 U.S. 42, 48 (1988).

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injunctive relief to prevent Defendants "from not providing temporary relief and aid while" he waits

to be tested, diagnosed, and treated for his medical issues. (Id. at 12)

III.    LEGAL STANDARDS

        A federal court may properly dismiss an action sua sponte under the screening provisions of

28 C.S.C. § 1915(e)(2)(B) and§ 1915A(b) if "the action is frivolous or malicious, fails to state a claim

upon which relief may be granted, or seeks monetary relief from a defendant who is immune from

such relief." Ball v. Famiglio, 726 F.3d 448, 452 (3d Cir. 2013); see also 28 C.S.C. § 1915(e)(2) (in Jonna

pauperis actions); 28 U.S.C. § 1915A (actions in which prisoner seeks redress from governmental

defendant); 42 C.S.C. § 1997e (prisoner actions brought with respect to prison conditions). The

Court must accept all factual allegations in a complaint as true and take them in the light most

favorable to a prose plaintiff. See Phillips v. County efAlleghetry, 515 F.3d 224, 229 (3d Cir. 2008);

Erickson v. Pard11s, 551 U.S. 89, 93 (2007). Because Plaintiff proceeds prose, his pleading is liberally

construed and his Complaint, "however inartfully pleaded, must be held to less stringent standards

than formal pleadings drafted by lawyers." Erickson, 551 U.S. at 94 (citations omitted).

        An action is frivolous if it "lacks an arguable basis either in law or in fact." Neitzke v.

Williams, 490 U.S. 319, 325 (1989). Under 28 U.S.C. § 1915(e)(2)(B)(i) and§ 1915A(b)(1), a court

may dismiss a complaint as frivolous if it is "based on an indisputably meritless legal theory" or a

"clearly baseless" or "fantastic or delusional" factual scenario. Neitzke, 490 at 327-28; see also Wilson

v. Rackmill, 878 F.2d 772,      (3d Cir. 1989); Deutsch v. United States, 67 F.3d 1080, 1091-92 (3d

Cir. 1995) (holding frivolous a suit alleging that prison officials took an inmate's pen and refused to

give it back).

        The legal standard for dismissing a complaint for failure to state a claim pursuant to

§ 1915(e)(2)(B)(ii) and§ 1915A(b)(1) is identical to the legal standard used when deciding Rule
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12(b)(6) motions. See Tourscher v. McCullough, 184 F.3d 236, 240 (3d Cir. 1999) (applying Fed. R. Civ.

P. 12(b)(6) standard to dismissal for failure to state claim under§ 1915(e)(2)(B)). However, before

dismissing a complaint or claims for failure to state a claim upon which relief may be granted

pursuant to the screening provisions of 28 U .S.C. §§ 1915 and 1915A, the Court must grant a

plaintiff leave to amend his complaint unless amendment would be inequitable or futile. See Grayson

v. Mayview State Hosp., 293 F.3d 103, 114 (3d Cir. 2002).

         A complaint may be dismissed only if, accepting the well-pleaded allegations in the

complaint as true and viewing them in the light most favorable to the plaintiff, a court concludes

that those allegations "could not raise a claim of entitlement to relief." Bell AtL Corp. v. Twombjy, 550

U.S. 544, 558 (2007). While "detailed factual allegations" are not required, a complaint must do

more than simply provide "labels and conclusions" or "a formulaic recitation of the elements of a

cause of action." Davis v. Abington Mem'l Hosp., 765 F.3d 236, 241 (3d Cir. 2014) (internal quotation

marks omitted). In addition, a complaint must contain sufficient factual matter, accepted as true, to

state a claim to relief that is plausible on its face. See Williams v. BASF Cata!Jsts I.LC, 765 F.3d 306,

315 (3d Cir. 2014) (citingAshcrtijf v. Iqbal, 556 U.S. 662, 678 (2009) and Twombjy, 550 U.S. at 570).

Finally, a plaintiff must plead facts sufficient to show that a claim has substantive plausibility. See

Johnson v. Ci!J ef Shelby,         135 S.Ct. 346, 347 (2014). A complaint may not dismissed for

imperfect statements of the legal theory supporting the claim asserted. See id. at 346.

         Under the pleading regime established by Twomb!J and Iqbal, a court reviewing the

sufficiency of a complaint must take three steps: (1) take note of the elements the plaintiff must

plead to state a claim; (2) identify allegations that, because they are no more than conclusions, are

not entitled to the assumption of truth; and (3) when there are well-pleaded factual allegations, the

court should assume their veracity and then determine whether they plausibly give rise to an



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entitlement to relief. See Connel/y v. Lane Const. Corp., 809 F.3d 780, 787 (3d Cir. 2016). Elements are

sufficiently alleged when the facts in the complaint "show" that the plaintiff is entitled to relief. See

Iqbal, 556 U.S. at 679 (citing Fed. R. Civ. P. 8(a)(2)). Deciding whether a claim is plausible will be a

"context-specific task that requires the reviewing court to draw on its judicial experience and

common sense." Id.

IV.     DISCUSSION

        A.      Personal Involvement

        Dr. Monica ]\fills ("Dr. Mills") is named as a defendant. "A[n individual government]

defendant in a civil rights action must have personal involvement in the alleged wrongdoing; liability

cannot be predicated solely on the operation of respondeat superior. Personal involvement can be

shown through allegations of personal direction or of actual knowledge and acquiescence." Rode v.

Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988). Here, under the liberal notice pleading standard of

Rule 8(a), Plaintiffs complaint fails to allege facts that, if proven, would show personal involvement

by Dr. Mills. A civil rights complaint is adequately pled where it states the conduct, time, place, and

persons responsible. See Evancho v. Fisher, 423 F.3d 347, 353 (3d Cir. 2005) (citing Bqykins v. Ambridge

Area Sch. Dist., 621 F.2d 75, 80 (3d Cir. 1980). The complaint here fails to include any of those

elements. Indeed, Dr. Mills is not named in the body of the complaint.

        Therefore, the Court will dismiss the claim against Dr. Mills for failure to state a claim upon

which relief may be granted pursuant to 28 U.S.C. § 1915(e)(2)(B)(i), (ii) and§ 1915A(b)(1).

However, since it appears plausible that Plaintiff may be able to articulate a claim against Dr. Mills

or name alternative defendants, he will be given an opportunity to amend his pleading. See O'Dell v.

United States Gov't, 256 F. App'x 444 (3d Cir. Dec. 6, 2007) (leave to amend is proper where

plaintiffs claims do not appear "patently meritless and beyond all hope of redemption").



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          B.        Medical

          The complaint alleges that Plaintiff was seen by Dr. Parker, who examined him and ordered

diagnostic testing. It appears that Plaintiff believes that Dr. Parker should have ordered additional

tests. "[P]rison authorities are accorded considerable latitude in the diagnosis and treatment of

prisoners." Dunner v. 0 'Carroll, 991 F.2d 64, 67 (3d Cir. 1993). A prisoner bringing a medical-needs

claim "must show more than negligence; he must show 'deliberate indifference' to a serious medical

need." Id. "Allegations of medical malpractice are not sufficient to establish a Constitutional

violation," nor is "[m]ere disagreement as to the proper medical treatment." Spruill v. Gillis, 372 F.3d

218, 235 (3d Cir. 2004). In addition, "a prisoner has no right to choose a specific form of medical

treatment," so long as the treatment provided is reasonable. Lasko v. Watts, 373 F. App'x 196, 203

(3d Cir. Apr. 12, 2010) (quoting Harrison v. Barklry, 219 F.3d 132, 138-140 (2d Cir. 2000)). An

inmate's claims against members of a prison medical department are not viable under § 1983 where

the inmate     rPf'P1,JP"-   continuing care, but believes that more should be done by way of diagnosis and

treatment and maintains that options available to medical personnel were not pursued on the

inmate's behalf. See Estelle v. Gamble, 429 U.S. 97, 107 (1976). Finally, "mere disagreement as to the

proper medical treatment" is insufficient to state a constitutional violation. Spruill,        F.3d at 235

(citations omitted).

                  when reading the Complaint in the light most favorable light to Plaintiff, he fails to

state an actionable constitutional claim against Dr. Parker for deliberate indifference to a serious

medical need. Rather, the Complaint alleges that the medical tests ordered by Dr. Parker were not

to   Plaintiff's liking. Therefore, the Court will dismiss the claim against Dr. Parker as legally frivolous

pursuant to 28 U.S.C. § 1915(e)(2)(B)(i) and§ 1915A(b)(1).




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V.      CONCLUSION

        For the above reasons, the Court \vill: (1) dismiss the Complaint as frivolous and for failure

to state a claim upon which relief may be granted pursuant to 28      .S.C. § 1915(e)(2)(B)(i), (ii) and

§ 1915A(b)(1); (2) deny without prejudice to renew Plaintiff's request for injunctive relief (see D.I. 2

at 11 ); and (3) deny without prejudice to renew Plaintiff's motion for preliminary injunction (D.I.

11 ). Plaintiff \vill be given leave to amend the complaint.

        An appropriate Order follows.




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